Case 3:23-cr-00127-MEM *SEALED* Document 10-1 Filed 06/12/23 Page 1 of 2

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
No. 3:23-CR-127
-ys"
: (Mannion, J.)
THOMAS TROTTA, (Saporito, M.J.)
Defendant

Filed Under Seal

UNITED STATES OF AMERICA TO THE WARDEN,
' SUPERINTENDANT, OR PERSON IN CHARGE OF
LUZERNE COUNTY PRISON, WILKES BARRE, PENNSYLVANIA

YOU ARE COMMANDED TO PRODUCE, now ity yoRregstody or

one of your deputies, the person of Pp My 7 4 Rs
THOMAS TROTTA g
a Un

into the custody of the United States Marshals Service or KGS
Federal Bureau of Investigation (FBD, against whom there are pending
certain criminal proceedings in the United States District Court for the
Middle District of Pennsylvania, that THOMAS TROTTA appear for an
initial appearance/arraignment hearing on June 15, 2023 at 3:00 p.m. in
connection with the criminal charges and that United States Marshals
Service is directed to keep the prisoner safe in custody, and confine him

from day to day, when not appearing before the Court, in a safe and

Case 3:23-cr-00127-MEM *SEALED* Document 10-1 Filed 06/12/23 Page 2 of 2

suitable jail, and that THOMAS TROTTA remain in federal custody until

the final disposition of the federal charges in this Court.

“th,
Witness my signature on this / 3 day of Shs 2028.

KGS AG. ff 7 ‘
(JOSEPH F. SAPORITO, IR’
U.S. MAGISTRATE JUDGE

